Case 1:16-cv-03501-RDB Document 24 Filed 05/11/17 Page 1 of 2
Case 1:16-cv-03501-RDB Document 23-1 Filed 04/27/17 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF MARYLAND

JEFFREY DOYLE
Plaintiff
v.

FRONTLINE ASSET
STRATEGIES, LLC, ef al.

Defendants.

 

MARIO DAZZA
Plaintiff
¥.

KIRSCHENBAUM, PHILLIPS &
LEVY, P.C., ef al.

Defendants.

 

ROBERTO ARACENA
Plaintiff

Vv.

ELTMAN LAW, P.C. D/B/A
ELTMAN, ELTMAN &
COOPER, P.C.

Defendant.

 

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(Northern Division) -

Case No. 1:16-cv-03501-RDB

Case No. 1:16-cv-03954-RDB

Case No. 1:16-cev-03851-CCB

ORDER

UPON CONSIDERATION of Plaintiffs’ Motion to Consolidate Doyle v. Frontline Asset

Strategies, LLC, et al., Case No. 1:16-cv-03501-RDB (“Doyle”), Dazza v. Kirschenbaum, Phillips
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& Levy, P.C., et al., Case No, 1:16-cv-03954-RDB (“Dazza” ) and Aracena v. Eltman Law, P.C.,
Case No. 1:16-cv-03851-CCB (“Aracena”), it is this Moa of MAY , 2017, hereby
ORDERED that the Plaintiffs’ Motion to Consolidate is GRANTED. It is further ORDERED
that the cases will be consolidated for all purposes under |:16-cv-03501-RDB, with Jeffrey Doyle

as the lead plaintiff, individually and on behalf of all others similarly situated.

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Richard D. Bennett
United States District Judge
